
95 N.Y.2d 782 (2000)
THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
v.
DARREL K. HARRIS, Appellant.
Court of Appeals of the State of New York.
Submitted May 8, 2000.
Decided May 12, 2000.
Appellant's motion for an extension of time to file his brief granted. October 17, 2000 is set as the date for appellant to file 15 copies of his brief and of the issue identification statement required by section 510.8 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.8 [c]), with proof of service. The date by which all motions for amicus curiae relief must be noticed to be heard is extended to December 1, 2000. The date by which respondent must file 15 copies of its brief, with proof of service, is extended to April 20, 2001. The date by which appellant must file his reply brief, if any, with proof of service, is extended to June 15, 2001.
